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AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT                                           United States Courts
                                                                for the
                                                                                                         Southern District of Texas
                                                     Southern District of Texas                                    FILED
                                                                                                                May 5, 2025
                  United States of America                         )
                             V.                                    )                                 Nathan Ochsner, Clerk of Court
                                                                   )       Case No.   M-25-0998-M
                  Manuel Flores Ill (1990)                         )
                                                                   )
                  Rene Cuellar Jr. (1982)                          )
                                                                   )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     May 5, 2025                in the county of              Hidalgo             in the
     Southern                           Texas
                       District of- - - - ----- , the defendant(s) violated:

            Code Section                                                     Offense Description
21 USC§ 846                                     Posses with Intent to Distribute 1.08 kilograms of cocaine, a schedule II
                                                controlled substance and conspiracy to do so.
21 USC§ 841




         This criminal complaint is based on these facts:
                                                           See Attachment "A"




          !if Continued on the attached sheet.
                                                                                                /s/ Ileen Torres
Complaint authorized by: AUSA Jose Garcia                                                    Complainant's signature

                                                                                      Ileen Torres DEA Special Agent
Submitted by reliable electronic means, sworn to
                                                                                              Printed name and title
and attested to telephonically per Fed. R. Cr. 4.1,
and probable cause found on:


Date:          May 5, 2025 at 10:20 p.m.


                                         McAllen, Texas                        Hon. Nadia S. Medrano U.S. Magistrate Judge
City and state:                                                                              Printed name and title
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